






NO. 07-04-0089-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MAY 18, 2005



______________________________




MIGUEL HERNANDEZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 154TH DISTRICT COURT OF LAMB COUNTY;



NO. 3477; HONORABLE MARVIN MARSHALL, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

	 Pursuant to a plea agreement, appellant Miguel Hernandez was convicted of
aggravated assault, and punishment was assessed at five years confinement and a $1,000
fine.  The confinement was suspended in favor of five years of community supervision. 
After a hearing on the State's motion to revoke, the trial court revoked appellant's
community supervision and assessed the original punishment.  In presenting this appeal,
counsel has filed an Anders (1) brief in support of a motion to withdraw.  We grant counsel's
motion and affirm.

	In support of his motion to withdraw, counsel certifies he has diligently reviewed the
record and, in his opinion, the record reflects no reversible error upon which an appeal can
be predicated.  Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493
(1967); Monroe v. State, 671 S.W.2d 583, 585 (Tex.App.--San Antonio 1984, no pet.).
Thus, he concludes the appeal is frivolous.  In compliance with High v. State, 573 S.W.2d
807, 813 (Tex.Cr.App. 1978), counsel has candidly discussed why, under the controlling
authorities, there is no error in the court's judgment.  Counsel has also shown that he sent
a copy of the brief to appellant and informed appellant that, in counsel's view, the appeal
is without merit.  In addition, counsel has demonstrated that he notified appellant of his right
to review the record and file a pro se response if he desired to do so.  Appellant did not file
a response.  Neither did the State favor us with a brief.

	The State filed a motion to revoke appellant's community supervision in July 2002. 
Appellant pled true to the violations alleged, and the court chose to continue his community
supervision, sentencing him to 120 days in county jail, and requiring him to attend anger
management within thirty days of his release.  The State filed a second motion to revoke
appellant's community supervision in January 2003.  Appellant pled true to the violations
alleged, and the court again opted to continue his community supervision, ordering him to
complete an anger management program, and prohibiting any contact with females until
the completion of such program.

	In July 2003, the State filed a third motion to revoke appellant's community
supervision claiming he failed to attend anger management classes as directed and that
he made obscene remarks to an eleven-year-old female during a phone call on June 24,
2003.  At the revocation hearing, appellant pled not true to the allegations, and, after
hearing testimony, the court concluded he had violated the terms of his probation.  The
court immediately revoked the order of community supervision, and imposed the original
sentence of five years confinement.  Appellant subsequently filed a notice of appeal.

	By his Anders brief, counsel does not advance any arguable grounds for appeal. 
Appellate review of a revocation order is limited to determining whether the trial court
abused its discretion.  Cardona v. State, 665 S.W.2d 492, 493 (Tex.Cr.App. 1984); Jackson
v. State, 645 S.W.2d 303, 305 (Tex.Cr.App. 1983).  In a revocation proceeding, the State
must prove by a preponderance of the evidence that appellant violated a condition of
community supervision.  Cobb v. State, 851 S.W.2d 871, 874 (Tex.Cr.App. 1993).  One
sufficient ground for revocation will support the trial court's order.  Moore v. State, 605
S.W.2d 924, 926 (Tex.Cr.App. 1980).  Here, counsel concedes to the "largely equivocal
nature" of the evidence regarding whether appellant obtained permission to miss the court-ordered anger management sessions.  Counsel also admits appellant's accuser was
impeached due to inconsistencies in her testimony and her statement to police.  However,
as counsel recognizes, the trial judge was the exclusive judge of the credibility of the
witnesses and the weight to be given to their testimony.  Mattias v. State, 731 S.W.2d 936,
940 (Tex.Cr.App. 1987).  Based on the evidence presented, we do not find the court's
conclusion that appellant committed the alleged violations to be an abuse of discretion.

	In his brief, counsel acknowledges that trial counsel did not object to testimony that
appellant molested children and beat his ex-wife.  Furthermore, the record reflects trial
counsel may have elicited some evidence that would be considered harmful to appellant's
case.  On the other hand, trial counsel challenged the State's case by vigorously cross-examining witnesses and advancing the theory that the harassment allegation stemmed
from a long-standing family feud.  Absent evidence regarding counsel's trial strategy and
provided the presumption that trial counsel's conduct falls within the wide range of
reasonable and professional representation, no reversible error is demonstrated.  See
Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984);
Hernandez v. State, 726 S.W.2d 53, 55 (Tex.Cr.App. 1986); see also Bone v. State, 77
S.W.3d 828, 833 (Tex.Cr.App. 2002); Mallett v. State, 65 S.W.3d 59, 63 (Tex.Cr.App.
2001).         

	We have made an independent examination of the entire record to determine
whether there are any arguable grounds which might support this appeal.  See  Penson v.
Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Stafford v. State, 813 S.W.2d
503, 511 (Tex.Cr.App. 1991).  We have found no such grounds and agree with counsel that
the appeal is frivolous.  Currie v. State, 516 S.W.2d 684 (Tex.Cr.App. 1974); Lacy v. State,
477 S.W.2d 577, 578 (Tex.Cr.App. 1972).

	Accordingly, counsel's motion to withdraw is hereby granted and the judgment of the
trial court is affirmed.

							Per Curiam



Do not publish.

1. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

